                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE


 UNITED STATES OF AMERICA,                          )
                                                    )
                        Plaintiff,                  )
                                                    )
 v.                                                 )              No. 3:07-CR-116
                                                    )              (PHILLIPS/SHIRLEY)
 ZACHARY ADAM DANCE,                                )
                                                    )
                        Defendant.                  )


                                 MEMORANDUM AND ORDER

                This matter came before the undersigned on November 1, 2007, for a scheduled

 detention hearing. Assistant United States Attorney Hugh Ward was present representing the

 government. Federal Public Defender Kim Tollison was present representing Defendant Dance, who

 was also present.

                In the Court’s oral ruling, a complete review and analysis of the parties’ positions,

 issues, and facts were stated. That specific and detailed oral ruling is attached hereto and made a

 part of this Order as if stated herein verbatim.

                For the reasons stated therein, I find, pursuant to 18 U.S.C. § 3142, that the Defendant

 did not overcome the statutory presumption that there are no conditions of release that would

 reasonably assure the Court of the safety of the community and government has met the burden of

 establishing by clear and convincing evidence that Defendant Dance’s release would pose a danger

 to the community. Furthermore, the Court finds that there are no conditions or combination of

 conditions of release that would reasonably assure the Court that Defendant would not pose a danger

 to the safety of any other person or the community. The Court makes no finding with regard to risk




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 of flight in this matter

                 It is therefore ORDERED that Defendant, Zachary Adam Dance, be detained.

 Defendant will be committed to the custody of the Attorney General or his designated representative

 for confinement in a correction facility separate to the extent practicable from persons awaiting

 sentencing or serving sentences or being held in custody pending appeal. Defendant shall be

 afforded a reasonable opportunity for private consultation with defense counsel. Upon order of this

 Court or a Court of the United States or upon request of the attorney for the government, the person

 in charge of the corrections facility shall deliver Defendant to the United States Marshals for the

 purpose of an appearance in connection with a Court proceeding.

                            IT IS SO ORDERED.

                                                      ENTER:


                                                        s/ C. Clifford Shirley, Jr.
                                                      United States Magistrate Judge




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